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                         THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

 IN RE:                                              §    Chapter 7
                                                     §
 SCOTT VINCENT VAN DYKE,                             §    Case No. 21-60052 (CML)
                                                     §
           Debtor.                                   §

   CHAPTER 7 TRUSTEE’S OBJECTION TO DEBTOR’S CLAIMED EXEMPTIONS

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
         THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
         HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
         HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
         THE MOTION AT THE HEARING.

         REPRESENTED            PARTIES      SHOULD       ACT       THROUGH      THEIR
         ATTORNEY.

         Catherine S. Curtis, Chapter 7 Trustee (the “Trustee”), hereby files Chapter 7 Trustee’s

Objection to Debtor’s Claimed Exemptions (the “Objection”). In support of the Objection, Trustee

respectfully submits the following:

                                      I. INTRODUCTION

         1.        Through the Objection, Trustee seeks the entry of an order limiting Debtor’s

claimed exemptions in certain real and personal property. Debtor attempts to claim exemptions

over certain properties that are not supported by applicable law.




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         2.        Specifically, the Debtor attempts to exempt his homestead notwithstanding the fact

that fraudulently obtained funds were used to purchase and sustain the real property. Further,

Debtor attempts to exempt personal property despite not being eligible for the exemptions.

           II. JURISDICTION, VENUE, AND BASIS FOR REQUESTED RELIEF

         3.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.        This is a core proceeding under 28 USC § 157(b)(2)(A), (B), and (O). Since this is

a core proceeding, the Bankruptcy Court has constitutional authority to enter final orders regarding

the Objection.

         5.        The statutory basis for the relief requested in the Objection is sections 105 and 522

of title 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), Rule 4003 of the Federal

Rules of Bankruptcy Procedure (individually, a “Bankruptcy Rule” and collectively, the

“Bankruptcy Rules”), and Rule 4003-1 of the Bankruptcy Local Rules.

                                        III. BACKGROUND

A.       Background Regarding Litigation Prior to the Bankruptcy Filing

         6.        In 2004, several investors brought breach of contract claims arising against Anglo-

Dutch Petroleum International, Inc. (“ADPI”) and several judgments were issued. Because ADPI

did not have the money to pay the investors’ judgments, the investors filed fraudulent transfer

lawsuits against the Debtor in Texas state court. The fraudulent transfer lawsuits were ultimately

removed to the United States District Court for the Southern District of Texas (the “District

Court”). On August 27, 2021, the District Court issued an order finding that Debtor and his related

entities fraudulently transferred assets in violation of § 24.006(a) of the Texas Uniform Fraudulent

Transfer Act (the “MSJ Order”). A copy of the MSJ Order is attached as Exhibit A.                   On



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November 9, 2021, District Court issued a final judgment against Debtor (the “Final Judgment”).

A copy of the Final Judgment is attached as Exhibit B.1

         7.        Also in 2004, ADPI sued its lawyer Gerard Swonke in a Texas state court (“Harris

County Court”). On October 16, 2007, the Harris County Court entered an Order Granting

Judgment Creditor Gerard J. Swonke’s Motion to Contest the Affidavits of Net Worth and Motion

for Injunction (the “State Court Order”), in which the Harris County Court found that ADPI loaned

Debtor $3,800,000 to purchase the Property (the “Loan”) in February 2005. See Order Granting

Judgment Creditor Gerard J. Swonke’s Motion to Contest the Affidavits of Net Worth and Motion for

Injunction, Case No. 4:19-cv-02894, Dkt. No. 37, Ex. 15 (S.D. Tex. Jan. 20, 2021). A copy of the

State Court Order is attached as Exhibit C. The State Court Order included a finding of the

Debtor’s Loan being satisfied due to the Debtor transferring $400,000 to ADPI with actual intent

to hinder, delay or default a creditor. See Exhibit A, at 7, ⁋ 23.

         8.        Ultimately, two different courts have issued orders that include findings of the Debtor

fraudulently transferring assets. The District Court rendered the Final Judgment against the Debtor

and his related entities, finding that the Debtor fraudulently transferred $19,539,546.23 out of ADPI

for his own benefit and that of his related entities. See Exhibit B. A large portion of these fraudulently

transferred funds were used by the Debtor to purchase the property located at 1515 South Boulevard,

Houston, TX 77006 (the “Real Property”), as evidenced by the State Court Order. See Exhibit C.

Because the Real Property was purchased with fraudulently obtained funds, Trustee objects to the

Debtor’s Real Property homestead exemption. To the extent that any amount is attributable to

fraudulent proceeds, the Real Property is not exempt and therefore property of the Estate.




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   The factual and procedural background of the investors’ litigation (the “Litigation”) leading to the Final Judgment
is fully detailed in Eva S. Englehart’s Motion to Confirm Absence of the Automatic Stay and in Exhibit A. See Dkt.
No. 174 at 5-7.

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B.       Bankruptcy Filing Background

         9.        On March 5, 2019, ADPI filed a voluntary petition for relief under Chapter 7 of the

Bankruptcy Code, thereby commencing Case No. 19-30797. ADPI is an entity in which Debtor

owned 65% and his mother, Mary Theresa Van Dyke owned the remaining 35%. Case No. 19-

30797, Dkt. No. 5, at 28. Eva S. Englehart is the appointed Chapter 7 Trustee in the ADPI

Bankruptcy Case.

         10.       On May 25, 2021 (the “Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code, thereby commencing this Case.

         11.       On June 30, 2021, Debtor filed his Schedules. Dkt. No. 27. He disclosed his

interest valued at $4,215,000.00 in the Real Property and claimed a homestead exemption for all

equity in the Real Property under Const. art. 16 §§ 50, 5, and Texas Prop. Code §§ 41.001-.002.

Dkt. No. 27 at 30. Debtor also disclosed an interest in a 2016 Chevrolet Silverado, a 2013

Chevrolet Tahoe, and a 2004 Chevrolet Suburban (collectively, the “Vehicles”) and claimed an

exemption for the Vehicles under Tex. Prop. Code §§ 42.001(a), 42.002(a)(9). Doc No. 27 at 30-

31. Debtor disclosed an interest in art/paintings, watches, and jewelry as well, and exempted the

value of $2,000 for art/paintings, $100.00 for four watches, and $50 for a ring (the “Personal

Property”). Dkt. No. 27 at 35.

         12.       On August 5, 2021, Debtor filed an Amended Schedule A/B, in which he reduced

the value of his interest in the Real Property to $2,661,000.00. Dkt. No. 48.

         13.       On January 31, 2022, this Court converted Debtor’s Case to Chapter 7. Dkt. No.

129. Catherine Stone Curtis was appointed as Trustee on February 11, 2022.




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                                     IV. LEGAL AUTHORITY

A.       SECTION 522 OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 4003

         14.       Section 522(l) of the Bankruptcy Code provides that “[t]he debtor shall file a list of

property that the debtor claims as exempt under subsection (b) of this section. . . . Unless a party

in interest objects, the property claimed as exempt on such list is exempt.” 11 U.S.C. § 522(l). As

explained above, Debtor filed his Schedules and claimed the Property and Vehicles as exempt

pursuant to Texas law. See Dkt. No. 27, at 30-31.

         15.       Rule 4003 provides, in pertinent part, that “a party in interest may file an objection

to the list of property claimed as exempt within 30 days after the initial meeting of creditors held

under § 341(a) is concluded or within 30 days after any amendment to the list or supplemental

schedules is filed, whichever is later.” Fed. R. Bankr. P. 4003(b). Rule 4003 also provides that

the objecting party bears the burden of proof that the exemptions are not properly claimed. FED.

R. BANKR. P. 4003(c).

                          V. OBJECTION TO CLAIMED EXEMPTION

         16.       Under applicable Texas law, funds obtained by fraud and used to purchase a

homestead give rise to an equitable lien in favor of creditors ahead of any homestead exemption

claim. Additionally, Debtor seeks to claim an exemption in personal property that he is not entitled

to claim.

A.       Objection to Debtor’s Homestead Exemption under 11 U.S.C. 522(o).

         17.       The Texas Constitution creates a legal interest in real property known as a

homestead. In re Villarreal, 401 B.R. 823, 831 (Bankr. S.D. Tex. 2009) (citing Heggen v.

Pemelton, 836 S.W.2d 145, 148 (Tex. 1992); Tex. Const. art. 16, § 50) Tex. Prop. Code Ann. §

41.002(a) and (b) (Vernon 2001). The homestead protection afforded by the Texas Constitution,

however, was never intended to protect stolen funds.

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         18.       “Stolen funds used for the purchase of a homestead or improvement of an existing

homestead can never acquire homestead rights as they are held in trust for the rightful owner of

the funds.” Bransom v. Standard Hardware, Inc., 874 S.W.2d 919, 928 (Tex. App.—Ft. Worth,

1994). A debtor cannot claim a homestead exemption when wrongfully obtained money or

property was used to create equity in the homestead, as the assets never belonged to the debtor in

the first place. See Baccum v. Texan Oil Corp., 423 S.W.2d 434, 442 (Tex. Civ. App. 1967)

(discussing granting injunction).

         19.       Bankruptcy courts have equitably subordinated homestead claims when the funds

used to purchase the home or pay the debt on the home were obtained fraudulently. In re Cowin,

2014 WL 1168714 (Bankr. S.D. Tex. 2004); In re Huie, 2007 WL 2317152, at *5 (Bankr. E.D.

Tex. 2007) (“Texas law does not permit the Debtor[] to use their homestead exemption to shield

the Home from the [Creditor’s] superior equitable interest in the Home.”).

         20.       In the case In re Gamble-Ledbetter, the bankruptcy court determined that a creditor

had a superior equitable interest in a debtor’s home because the debtor utilized fraudulently

obtained funds as a way to reduce the amount of debt on the homestead. In re Gamble-Ledbetter,

419 B.R. 682, 701 (Bankr. E.D. 2009). A similar analysis as set forth in Gamble-Ledbetter should

be used by the Court today. Debtor is not entitled to claim a homestead exemption because he

used fraudulently obtained funds to purchase the Real Property, findings included in both the MSJ

Order and the State Court Order. Exhibit A, Exhibit C.

         21.       Since the Debtor utilized fraudfully obtained funds to purchase the Real Property

and/or pay down debt for the Real Property, the Court should determine the Debtor’s homestead

exemption is equitably subordinated.




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B.       Objection to Debtor’s Personal Property Exemptions

         22.       The Texas Property Code permits an exemption on motor vehicles for each member

of a family. Tex. Prop. Code Ann. § 42.002(a)(9). Debtor’s schedules indicate that he had one

dependent, yet he has claimed an exemption in three Vehicles. Trustee objects to the claimed

exemptions on the three Vehicles. Debtor’s mother has since passed away. Debtor is a single man

who ostensibly lives alone. If Debtor is in fact the sole person in his household, he is allowed to

exempt only one of the three Vehicles under Section 42.002(a)(9) of the Texas Property Code.

         23.       A debtor is also allowed to exempt property with the aggregate fair market value of

no more than $50,000.00 under Section 42.001(a)(2) of the Texas Property Code. Within this

Case, the Debtor is in possession and control of substantial amounts of Personal Property, yet he

only disclosed the following amounts as his interest in the items: $2,0000.00 for art/paintings,

$100.00 for four watches, and $50.00 for a ring. Dkt. No. 27 at 35. To the extent the Debtor has

any interest in Personal Property not specifically enumerated, properly valued, disclosed, and

claimed as exempt on his schedules and statements, such property is property of the bankruptcy

Estate, and the Trustee would object to his claiming an exemption in any such assets.

                                         VI. CONCLUSION

         For the reasons set forth above, Trustee respectfully requests that the Court enter an order

limiting the Debtor’s exemption of the Real Property to the extent any of the Real Property is

attributable to fraudulent proceeds, denying Debtor’s exemption on any nonexempt vehicle,

determining any undisclosed interests in Personal Property not specifically disclosed to be

nonexempt, and granting all such other relief, both at law and in equity, to which it may justly be

entitled.




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Dated: June 22, 2022                               Respectfully submitted,


                                                   By /s/Catherine Stone Curtis
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                                                   Chapter 7 Trustee


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General Counsel


                               CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2022, a true and correct copy of the foregoing pleading
was served to the parties on the attached Service List either via this Court’s ECF notification
system and/or via United States first class mail.

                                                    /s/ Lynn Hamilton Butler
                                                       Lynn Hamilton Butler




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